Case 1:17-cv-03984-JRS-TAB Document 15 Filed 02/10/20 Page 1 of 2 PageID #: 63



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


U.S. SECURITIES AND EXCHANGE                         )
COMMISSION,                                          )
                                                     )
Plaintiff,                                           )
                                                     )
V.                                                   ) Cause No. 1:17-cv-03984-WTL-TAB
                                                     )
THOMAS J. BUCK,                                      )
                                                     )
Defendant.                                           )



ORDER TO APPOINT FUND ADMINISTRATOR, APPOINT TAX ADMINISTRATOR
AND AUTHORIZE PAYMENT OF FUTURE TAXES, FEES, AND EXPENSES OF THE
TAX ADMINISTRATOR, APPROVE DISTRIBUTION PLAN, AND DISBURSE FUNDS



        The Court, having reviewed the Securities and Exchange Commission’s Motion to

Appoint Fund Administrator, Appoint Tax Administrator and Authorize Payment of Future

Taxes, Fees, and Expenses of the Tax Administrator, Approve Distribution Plan, and Disburse

Funds, and for good cause shown,

IT IS HEREBY ORDERED:

     1) Michael S. Lim is appointed as fund administrator.

     2) Miller Kaplan Arase LLP is appointed as tax administrator (“Tax Administrator”) and the

        SEC is authorized to make payment of future taxes, fees, and expenses of the Tax

        Administrator.




                                                 1
Case 1:17-cv-03984-JRS-TAB Document 15 Filed 02/10/20 Page 2 of 2 PageID #: 64



   3) The Commission’s proposed distribution plan to distribute funds paid by Defendant to one

       remaining harmed investor and to transfer any remaining funds to the general fund of the

       U.S. Treasury subject to Section 21F(g)(3) of the Exchange Act of 1934 is approved.

   4) The Commission is authorized to make a disbursement of $946,868 of funds to the one

       remaining harmed investor and the Commission is authorized to make payment of any

       current and future administrative expenses of administering the distribution fund.




   Date: 2/10/2020




    Distribution to all parties of record via CM/ECF




                                                 2
